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   8
                            UNITED STATES DISTRICT COURT
   9
                         SOUTHERN DISTRICT OF CALIFORNIA
  10
     SIMON GORO, an individual; TONY        Case No.: 3:17-cv-02580-JO-JLB
  11 RUSSELL, an individual; REY PENA,
     an individual; JOSE PENA, an           PLAINTIFFS’ NOTICE OF MOTION
  12 individual; JEFF BELANDER, an          AND MOTION FOR APPROVAL OF
     individual; GIUSEPPE ZIZZO, an         PAGA SETTLEMENT
  13 individual,

  14                                        Date: March 1, 2023
                    Plaintiffs,             Time: 9:30 a.m.
  15                                        Courtroom: 4C
             v.
  16                                    Judge: Hon. Jinsook Ohta
     FLOWERS FOODS, INC., a Georgia     Magistrate: Hon. Jill L. Burkhardt
     corporation; FLOWERS BAKING CO.
  17 OF CALIFORNIA, LLC, a California
                                        Date of Removal: December 28, 2017
     limited liability company; FLOWERS Trial Date: Vacated
  18 BAKING CO. OF HENDERSON,
     LLC, a Nevada limited liability
  19 company; and DOES 1 through 100,
     inclusive,
  20
                      Defendants.
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                             PLAINTIFFS’ NOTICE OF MOTION AND
                         MOTION FOR APPROVAL OF PAGA SETTLEMENT
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   1   TO THE COURT, ALL PARTIES, THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on March 1, 2023, at 9:30 a.m., or as soon
   3   thereafter as this matter may be heard in the courtroom of the Honorable Jinsook
   4   Ohta, in Courtroom 4C on the 4th Floor of the Edward J. Schwartz United States
   5   Courthouse, located at 221 West Broadway, San Diego, California 92101, Plaintiffs
   6   Simon Goro, Tony Russell, Rey Pena, Jose Pena, Jeff Belander, and Giuseppe Zizzo
   7   will and hereby do move this Court for an Order approving the settlement agreement
   8   reached with respect to the Private Attorneys General Act (“PAGA”) component of
   9   this case as required by Labor Code section 2698 et seq.
  10         This motion is based on the concurrently filed Memorandum of Points and
  11   Authorities, the supporting Declaration of Alex Tomasevic and its attached exhibits,
  12   the Request for Judicial Notice, and all other pleadings and papers on file in this
  13   action, and upon such other matters or arguments as may be presented to the Court
  14   at the time of the hearing.
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  16   Respectfully submitted:
  17   Dated: January 6, 2023                       NICHOLAS & TOMASEVIC, LLP
  18                                         By:     /s/ Shaun Markley _          __
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                                             2                3:17-cv-02580-JO-JLB
                             PLAINTIFFS’ NOTICE OF MOTION AND
                         MOTION FOR APPROVAL OF PAGA SETTLEMENT
